Case 2:19-cv-00114-LGW-BWC Document 11 Filed 05/14/20 Page 1 of 1

 

AO 450 (GAS Rev 10/03) Judgment in a Civil Case FILED
ILS _DISTPICT rauar
POTRCUIAL mie
MU DIY

United States District Court, in fee os
Southern District of Georgia PH 3 18

AOD

LERK C “stung
SSS ence reeeeeeenen

MARY ELIZABETH NOLAND 20. BIST. OF GA,

JUDGMENT IN A CIVIL CASE

Vv. CASE NUMBER: 2:19cv114
MARK BUTLER, et al.,

Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
has rendered its verdict.

(71 Decision by Court. This action came before the Court. The issues have been considered and a decision has been rendered.
IT IS ORDERED AND ADJUDGED
that in accordance with the Order of this Court dated May 7, 2020; the Report and Recommendation
of the Magistrate Judge is ADOPTED as the opinion of this Court. The Court DISMISSES

Plaintiffs Complaint and DENIES in forma pauperis status on appeal. This civil action stands closed.

Approved by:
HON. LISA GODBEY WOOD, JUDGE

 

 

MA AT is : lv qo Scott L. Poff
4 / j

Date Clerk

.
Woon ZO.

(By) Deputy Clerk

 

GAS Rev 10/1/03
